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                                                                                       Citation
        CbREY jARLAL BO UTTE                                                                                                                                   14' judicial District Court
                                                                                        444.
                                                                                           3>

  CA,   VS.        2021- 002256
        CITY OF LAKE CHARLES
                                                                                                   1,    i
                                                                                                                                                                            State of Louisiana
                                                                                                                                                                           Parish of Calcasieu




        THE STATE OF LOUISIANA


        TO:       THE CITY OF LAKE CHARLES


                  THE          HONORABLE             NIC       HUNTER
                  AT LAKE CHARLES CITY HALL
                  326 PUJO STREET
                  LAKE CHARLES, LA                   70601


        Parish    of Calcasieu,     Louisiana,    Defendant     in said suit;


        YOU ARE HEREBY CITED TO APPEAR before said Court, for said Parish, and to comply with the demand contained in
        the petition of COREY JAM.AL BOUTTE, PETITION FOR DAMAGES against you, certified copy of which petition
        accompanies this citation, or file your answers thereto in writing in the office of the Clerk of Court, at the Courthouse, in the
        City of Lake Charles, in said Parish, within fifteen( 15) days after the service hereof, under penalty of default

        Witness the Honorable Judges of said Court, at Lake Charles, Louisiana, this 10th day of June 2021.

        Issued and delivered July 15, 2021




                                       CA"
                                                        f‘s.vrk
                                                                                                                       S
                                                                                                                      Shelbie Hardy
                                                                                                                                                                1


                                                                DePt'


                                                     A. ega
                                                                                                                       Deputy Clerk of Court

                                                                        SERVICE INFORMATION

        Received                                                        20_,                                                                                   2( L_,
                    on   she
                                       day   of                                  and   on   the                  day       of                                           served the above named

        party as follows:

        P.EMOISAL,                     on the party herein named

        1). UNICILIART SERVICE on the party herein named by leaving the same at his domicile
        in the parish in the hands of
                                                                     a person apparently over the age of seventeen years, living and residing in
        said domicile and whose name and other facts connected with this service, I learned by interrogating the said person, said party herein
        being absent from his residence at the time of said service.
        RETURNED:
        PARISH      OF                                        this         day   of                                        20


        SERVICE                                                           BY:

                                                                                      Deputy Sheriff
        MILEAGE                 5


        TOTAL$


        Party No.           P001




                                                                                                                                                                                              DEFENDANT' S
                                                                                                                                                                                                 EXHIBIT

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        CMSOOSS                                                                                                                                                               Pag,   1   of
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           COREY      JAMAL BOUTTE                                     14m JUDICIAL DISTRICT COURT
           V. NO.     00d,               )D5ao                         PARISH OF CALCA.SIEU
           CITY OF LAKE CHARLES, CITY OF
           LAKE CHARLES                 POLICE.
           DEPARTMENT, CHIEF SHAWN
                                                                      STATE.,OF LOUISIANA
           CALDWELL,              OFFICER RYAN
           GASPARD, UNKNOWN OFFICER 1,
           AND UNKNOWN                  Oil ICER2
                                                                           1421, 4;
                                                                                 . i&
                                        intALL2,021                   CLERK       OF COURT



                                                      PETITIO\      FOR     DAMAGES


                     NOW INTO COURT COMES, through his attorney, Brent A. Hawkins and The Hawkins
           Law   Group,     LLC, COREY            JAMAL   BOWIE,( hereinafter           referred to as"   Plaintiff")   a person    of




           the full age of majority and domiciled in the Parish of Calcasieu, State of Louisiana, who
           respectfully tiles this Petition for Damages and in support of same would show unto this Honorable
           Court as follows:


                                                                      1.


                     Made Defendants herein are the following:

                     THE CITY OF LAKE CHARLES, Parish of Calcasieu, a local government entity and
          body politic created by statute, being a municipality and political subdivision of the State of
          Louisiana but not an agency, or department, or arm of the State of Louisiana, which may be served
          with service of process and citation through its registered agent of service of process, the Honorable

          Nic Hunter at Lake Charles City Hall, located at 326 Pujo Street, Lake Charles, Louisiana 70601.
                     CITY OF LAKE CHARLES POLICE DEPARTMENT( LCPD), a governmental entity
          and part of City of Lake Charles created by the Charter of the City of Lake Charles, Parish of
          Calcasieu and not and arm or instrumentality of the State of Louisiana, which may be served with
          service of process and citation upon its chief executive officer. Chief of Police Shawn Caldwell in

          his official capacity as Police Chief for the Lake Charles Police Department, at his place of
          employment located at 830 Enterprise Blvd, Lake Charles, Louisiana 70601.

                    OFFICER RYAN GASPARD, also made Defendant herein personally and in his
          capacity, a person of full age and majority, domiciled in the Parish of Calcasieu, who may be served
          with service of process and citation at his place of employment located at$ 30 Enterprise Blvd, Lake
          Charles, Louisiana 70601.


                    UNKNOWN OFFICER 1, also made. Defendant herein personally and in his capacity,
          a person    of   full   age   and
                                              majority, domiciled   in the Parish        Calcasieu,
                                                                                    of                who
                                                                                                             may he     served     with
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          service of process and citation at his place of employment located at 830 Enterprise Blvd, Lake

          Charles, Louisiana 70601, once his identity has been confirmed.

                 UNKNOWN OFFICER 2, also made Defendant herein personally and in his capacity,

          a person of full age and majority, domiciled in the Parish of Calcasieu, who may be served with

          service of process and citation at his place of employment   located at 830 Enterprise Blvd, Lake

          Charles, Louisiana 70601, once his identity has been confirmed.

                  CHIEF SHAWN CALDWELL, a person of full age and majority and Chief of Police tbr

          the City of Lake Charles Police-Department domiciled in Calcasieu Parish, who may be served with
          service of process and citation at his place of employment located at 830 Enterprise Blvd., Lake

          Charles, Louisiana 70601.


                  XYZ INSURANCE COMPANY, an insurance company authorized to do, and doing
          business in the State of Louisiana providing general liability coverage and/ or Excess of Loss
          Coverage for City of Lake Charles, City of Lake Charles Police Department, Shawn Caldwell,

          Officer Ryan Gaspard, Unknown Officer 1 and Unknown Officer 2 for any and all acts and damages
          occurring from this incident and all excess damage claims incurred by the City of Lake Charles on
          behalf of all named defendants.


                                                          2.


                  At all times material hereto, Officer Ryan Gaspard was acting in the course and scope of
          his duties in his employment with the City of Lake Charles City Police Department; and therefore,

          the City of Lake Charles and the City of Lake Charles Police Department are vicariously liable for
          the negligent acts Officer Ryan Gaspard.


                                                          3.



                  At all times material hereto, Unknown Officer I was acting in the course and scope of his
          duties in his employment with the City of Lake Charles City Police Department; and therefbre, the

          City of Lake Charles and the City of Lake Charles Police Department are vicariously liable for the
          negligent acts Unknown Officer 1.


                                                          4.


                  At all times material hereto, Unknown Officer 2 was acting in the course and scope of his
          duties in his employment with the City of Lake Charles City Police Department; and therefore, the

          City of Lake Charles and the City.of Lake Charles Police Department are vicariously liable for the
          negligent   acts   Unknown Officer 2.
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                                                                            5.



                     On or about June 16, 2020, Petitioner was riding his bicycle in the area of 4' Avenue and
            2" Avenue, as he was riding his bicycle, he noticed three white police trucks with the lights on
            roof pass him by in the opposite direction. Suddenly and without warning the three white trucks
            pulled up behind Petitioner and instructed him to get off his bicycle.
                                                                            6.



                     Petitioner got offhis bicycle and the officers indicated" they were looking for an individual
            who    broke into someone'    s   home   and stole   an   AK47."
                                                                                       Officers then asked Petitioner if he had any
           drugs on him, in fear of his person, he then began to flee on foot. Officers chased the unarmed
           Petitioner. During the chase Defendants then discharged their tasers, striking Petitioner about his
           person and in the back of his head. When petitioner awoke, he was on a stretched in excruciating
           pain.




                                                                        7.



                     As a result of being stuck with the Laser, Petitioner fell causing him to forcefully hit his
           head on the concrete which resulted in seizures, fractured jaw and other injuries including severe
           cement burns and scrapes to his face and arms.

                                                                        8.



                    At all times material herein, Chief Don Dixon and the I.CPI) employed Officer Ryan
           Gaspard as full- time police officers for the CCPD.



                    At all times material herein, Chief Don Dixon and the LCPD employed Unknown Officer
           1 as full- time police officers for the LCPD,

                                                                      10.



                    At all times material herein, Chief Don Dixon and the LCPD employed Unknown Officer
          2 as foil- time police officers for the LCPD.

                                                                      11.



                   As the Chief of Police for the City of Lake Charles and as a decision maker and policy
          maker for the Lake Charles Police Department, ChiefCaldwell actions or inactions are attributable
          and imputable to the City of Lake Charles.

                                                                      12.

                   In the Chiefs   official
                                              capacity   as   Chief   of     Police,    he   was   and   is responsible for
                                                                                                                              adopting,
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           promulgating, and implementing and enforcing policies, customs, or practices pertaining to
           making arrest and preserving the peace in the City of Lake Charles as well as customs, policies,

           and practices regarding the governing of the City of Lake Charles which includes screening, hiring,
           disciplining, training, supervising, and retaining of City Police Officers to ensure each police
           officer was qualified and properly trained to perform the duties and functions of peace officers

           including making arrests, preserving the peace, and the constitutional use of deadly force.
                                                                               13.



                       Petitioner allege that the City of Lake Charles through the Chief of Police did not properly
           scrutini-ze the backgrounds of Officer Ryan Gaspard and did not ensure that they had been properly
           trained and skilled on the proper use of force continuum, as well as have in place a deadly use of
           force policy for the City of Lake Charles. Additionally, the Chief failed to publish such policy and
           make known to all active police officers under his control and supervision, and the Chief failed to
          ensure that these officers kdlowed and abided by the General.

                                                                               14.



                      Petitioner allege that the City of Lake Charles through the Chief of Police did not properly
          scrutinize the backgrounds of UNKNOWN OFFICER 1 and did not ensure that they had been
          properly trained and skilled on the proper use of force continuum, as well as have in place a deadly
          use of force policy for the City of Lake Charles. Additionally, the Chief failed to publish such
          policy and make known to all active police officers under his control and supervision, and the
          Chief failed to ensure that these officers followed and abided by the General.
                                                                               15.



                      Petitioner allege that the City of Lake Charles through the Chiefof Police did not properly
          scrutinize the backgrounds of UNKNOWN OFFICER 2 and did not ensure that they had been
          properly trained and skilled on the proper use of force continuum, as well as have in place a deadly
          use of force policy for the City of Lake Charles. Additionally, the Chief failed to publish such
          policy and make known to all active police officers under his control and supervision, and the
          Chief failed to ensure that these officers followed and abided by the General.
                                                                              16.

                      Petitioner   allege     that the     City   of   Lake   Charles   violated   42 UCS §     1983.      It' s officers   are


          sworn to protect and serve and have the ability to use deadly force in that process, and have obvious
          need   to   be trained   by   the    City   of   Lake Charles.        On June    16, 2021,   the   City   of   Lake Charles       and
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           the LCPI) failed to have a written policy on the use of deadly force, and it was difficult/ impossible
           to train on a non- existent policy.

                                                                             17



                  The lack of policy amounted to gross negligence, recklessness, and deliberate indifference
           on behalf of the City of Lake Charles.

                                                                             18.



                  The action ofOfficer Gaspard use ofexcessive force was undertaken pursuant to the policy,
           practice and custom of the LCPD and the City of Lake Charles.

                                                                             19,



                  The action of Unknown Officer 1 use of excessive force was undertaken pursuant to the
          policy. practice and custom of the LCPD and the City of Lake Charles.
                                                                         20.



                  The action of Unknown Officer 2 use of excessive force was undertaken pursuant to the
          policy, practice and custom of the LCPD and the City of Lake Charles.
                                                                         21.



                  Petitioner aver that Officer Gaspard misconduct was undertaken pursuant to one or more
          de facto policies, practices and/or customs of the LCPD and the City of Lake Charles and the
          Defendants are guilty of the following wrongful acts including by not limited to:
                        a)
                              Failing to properly hire, supervise and train LCPD officers;

                        b) Failing to properly train and supervise on approaching civilians, discharging weapon
                             and de- escalation strategies;

                    c)
                             Refusing to supervise, reprimand, discipline, transfer, monitor, counsel and/ or
                             otherwise control Police Officers who engage in misconduct contrary to the laws,
                             rules and regulations, thus condoning the use of excessive force:
                   d)
                             Failing to retrain and/or otherwise control Police Officers who engage in excessive
                             force and/ or unjustified shooting against civilians;
                   e)
                             Failing to establish appropriate policies and procedures to address and correct the
                             repeated use of excessive force;

                   1)
                             Inadequately and/ or failing to independently and adequately investigate complaints
                             or   allegations   of excessive   force   and    other types   of misconduct
                                                                                                            by Police Officers;
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                   g) Tacitly approving of law enforcement officers using their power and position to
                          interfere with other citizens' rights;


                   h) Allowing the continuance in force and elket of policies and procedures which

                          resulted in the use of outrageous and excessive force against civilians, including Mr.
                          l3outte;


                   i)
                          As a matter of both policy and practice the City of Lake Charles and the LCPD

                          facilitates the very type of misconduct at issue here by failing to protect civilians from

                          reckless indifference of Defendant' s City agents, servants, and employees in its

                          Police Department; and


                   j) .   Allowing the policy, practice, and custom of a" police code of silence" resulting in
                          police officers refusing to report instances of police misconduct of which they are
                          aware.




                                                                       22.


                 Petitioner aver that UNKNOWN OFFICER 1 misconduct was undertaken pursuant to one

          or more de facto policies, practices and/ or customs of the LCPD and the City of Lake Charles and
          the Defendants are guilty of the following wrongful acts including by not limited to:
                   a)
                          Failing to properly hire, supervise and train LCPD officers;

                   b) Failing to properly train and supervise on approaching civilians, discharging weapon
                          and de- escalation strategies;

                   c)
                          Refusing to supervise, reprimand, discipline, transfer, monitor, counsel and/or

                          otherwise control Police Officers who engage in misconduct contrary to the laws,
                          rules and regulations, thus condoning the use of excessive force;

                   d) Failing to retrain and/ or otherwise control Police Officers who engage in excessive

                          force and/ or unjustified shooting against civilians;
                   e)
                          Failing to establish appropriate policies and procedures to address and correct the
                          repeated    use of excessive      force;


                   0 Inadequately and/or failing to independently and adequately investigate complaints
                          or allegations of excessive force and other types of misconduct by Police Officers;

                   g) Tacitly approving of law enforcement officers using their power and position to
                          interfere   with   other   citizens'   rights;
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                      h) Allowing the continuance in force and effect of policies and procedures which

                             resulted in the use of outrageous and excessive force against civilians, including Mr.
                             Boutte;


                      i)
                             As a matter of both policy and practice the City of Lake Charles and the LCPD

                             facilitates the very type of misconduct at issue here by failing to protect civilians from
                             reckless indifference of Defendant' s City agents, servants, and employees in its
                             Police Department:        and


                      j)     Allowing the policy, practice, and custom of a" police code of silence" resulting in
                             police officers refusing to report instances of police misconduct of which they are
                             aware.




                                                                          23.


                 Petitioner aver that UNKNOWN OFFICER 2 misconduct was undertaken pursuant to one

          or more de Facto policies, practices and/or customs of the LCPD and the City of Lake Charles and
          the Defendants are guilty of the following wrongful acts including by not limited to:
                 a) Failing to properly hire, supervise and train LCPD officers;

                 b) Failing to properly train and supervise on approaching civilians, discharging weapon
                           and de- escalation      strategies;


                 c) Refusing to supervise, reprimand, discipline, transfer, monitor, counsel and/ or

                           otherwise control Police Officers who engage in misconduct contrary to the laws, rules
                           and regulations,      thus condoning        the use of excessive force;


                 d) Failing to retrain and/or otherwise control Police Officers who engage in excessive
                           force and/ or unjustified shooting against civilians;
                 e)
                           Failing to establish appropriate policies and procedures to address and correct the
                           repeated       use of excessive    force;



                 0 Inadequately and/ or failing to independently and adequately investigate complaints or
                           allegations of' excessive force and other types of misconduct by Police Officers;

                 g) Tacitly approving of law enforcement officers using their power and position to
                           interfere with other citizens' rights;

                 h) Allowing the continuance in force and effect of policies and procedures which resulted

                           in the   use   of outrageous      and excessive      force   against                            Mr. Boutte;
                                                                                                  civilians,
                                                                                                               including
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                 i)
                      As a matter of both policy and practice the City of Lake Charles and the LCPD

                      facilitates the very type of misconduct at issue here by failing to protect civilians from

                      reckless indifference of Defendant' s City agents, servants, and employees in its Police

                      Department; and


                 j)   Allowing the policy, practice, and custom of a" police code of silence" resulting in

                      police officers refusing to report instances of police misconduct of which they are
                      aware,




                                                             24.


                 Petitioner aver that the actions of Officer Gaspard was negligent, excessive, unreasonable,

          malicious, and that they had a reckless disregard for the consequences of their actions. Further, the

          Petitioner aver that the actions of Officer Gaspard was designed and did cause serious physical

          and emotional   pain and suffering of Mr. Bowie.

                                                             25.


                  Petitioner aver that the actions of Unknown Officer 1 was negligent, excessive,

          unreasonable,   malicious,   and that they had a reckless disregard    for the consequences   of their

          actions. Further, the Petitioner aver that the actions of Unknown Officer 1 was designed and did

          cause serious physical and emotional pain and suffering of Mr. Boutte.

                                                             26.


                  Petitioner aver that the actions of Unknown Officer 2 was negligent, excessive,

          unreasonable,   malicious, and that they had a reckless disregard      for the consequences   of their

          actions. Further, the Petitioner aver that the actions of Unknown Officer 2 was designed and did

          cause serious physical and emotional pain and suffering of Mr. Boutte.

                                                             27.



                 The Petitioner aver that Mr. Boutte' s injuries was the result of poor official policy, custom,
          or practice of these Defendants. The action and inactions of the official policy maker are
          attributable to the City of Lake Charles and were the direct result of deliberate indifference

          attributable to each of the Defendants.


                                                             28.


                  Chief Shawn Caldwell. as the Chief of Police, is the official policy maker for the Lake
          Charles Police Department.
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                                                                              29.


                      The conduct and actions of the Defendants while in the course and scope of their

           employment was excessive and unreasonable, it was done intentionally, willfully, maliciously, and
           with deliberate indifference and reckless disregard for the natural probable consequences of their
           acts,




                                                                              30.


                      The actions of the Defendants were done without justification. Their actions were

           intentionally designed to and did cause serious physical and emotional pain and suffering and the
           death of Mr. Bonne in violation and deprivation of his constitutional rights protected under 42

           USC§ 1983 and the 4th and 14th Amendments to the United States Constitution including the right
           to be free of unreasonable search and seizure and the right to be free from the use of excessive,
           unreasonable and unjustified deadly force.

                                                                              31.


                      Petitioners request that this matter be tried by a jury.
                  WHERFORE, Petitioner also PRAYS as follows:

                      That this matter be deemed good and sufficient, That the Defendants be duly served with
           Petition and Citation, as indicated in Paragraph I


                  That after service and applicable legal delays there be judgment rendered herein in favor of the
           Petitioner and against the Defendants for all general and equitable relief granted in the premises
           herein,



                  After due proceedings had, that all costs associated herein be levied against the Defendants.

                   WHEREFORE, PREMISES CONSIDERED, Plaintiff, COREY BOUiTE, hereby
            prays that service of process and citation issue herein directed to defendants, CITY OF LAKE
            CHARLES, CITY OF LAKE CHARLES POLICE DEPARTMENT, CHIEF SHAWN
            CALDWELL, OFFICER RYAN GASPARD, UNKNOWN OFFICER 1, AND UNKNOWN
            OFFICER 2 and that after due proceedings had there be judgment rendered in his favor and
            against defendants, CITY OF LAKE CHARLES, CITY OF LAKE CHARLES POLICE
            DEPARTMENT,                CHIEF       SHAWN               CALDWELL              OFFICER               RYAN     GASPARD,

            UNKNOWN OFFICER 1, AND UNKNOWN OFFICER 2 jointly, severally, and in solido in
           an amount as is reasonable in the premises, commensurate with sustained damages, together
            with punitive and exemplary damages, attorney fees and for legal interest on said amount from
            the    date   of   judicial demand   until   paid,   for   all   costs   of court,   and   for         other relief   to
                                                                                                             any                       which
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           Plaintiffs may show themselves entitled to either in law or in equity.

                                                                       Respectfully submitted,




                                                                        RENT A. HAWKINS# 30547
                                                                      THE HAWKI: NS LAW GROUP
                                                                      1417 Hodges Street
                                                                      Lake Charles, Louisiana 70601
                                                                      Telephone:( 337) 210- 8811
                                                                      Facsimile:( 337) 210- 8855




           PLEASE    SERVE:

           AS   INDICATED     IN PARAGRAPH I                                        TRUE COPY
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